U.S. DISTRICT COURT
Case 4:20-cr-00063-P Document1 Filed 01/16/20 Pageneh3iERWGHAS BICT OF TEXAS

FILED

IN THE UNITED STATES DISTRICT COURT JAN 1.5 2020
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION eLERK US, DISTRICT COURT
UNITED STATES OF AMERICA Py: Deputy
v. No. 4:20-M- O29.
CURTIS BROWN (01)
KYSTON S. YOUNG (02)
CRIMINAL COMPLAINT

 

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

Alleged Offense:

On or about January 6, 2020, in the Fort Worth Division of the Northern
District of Texas, the defendants, Curtis Brown and Kyston S. Young,
aiding and abetting each other, did intentionally and knowingly by force,
violence, and intimidation take from the person and presence of J.T., money
belonging to and in the care, custody, control, management and possession
of a bank, that is, the Wells Fargo Bank located at 1701 Eastchase Parkway,
Fort Worth, Texas, the deposits of which were then insured by the Federal
Deposit Insurance Corporation (FDIC), in violation of 18 U.S.C. § 2113(a)
and 18 U.S.C. § 2

Probable Cause:

I, Weldon S. Thompson (your Complainant), further state that I am a detective with
the Fort Worth Police Department (FWPD) and I am currently assigned as a Task Force
Officer with the Federal Bureau of Investigation (FBI), Fort Worth, Texas. I have been
employed as an officer with FWPD since 1991, assigned as a Detective since 2006, and I
am currently assigned to investigate violations of 18 U.S.C. § 2113, relating to Bank
Robbery. The information contained in this complaint comes from my _ personal
observations, my training and experience, and information obtained from other officers,
agents, and witnesses. The facts contained in this complaint are intended to show merely
that there is sufficient probable cause for the requested complaint and do not set forth all of
my knowledge about this matter. This complaint is based upon the following facts:

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1. On or about Monday, January 6, 2020, at approximately 10:20 AM, a black male,
hereinafter referred to as robber, entered the Wells Fargo Bank, 1701 Eastchase
Parkway, Fort Worth, Texas. The black male was wearing a black zippered hooded
jacket with the hood pulled up, he also wore a gray ball cap with an ““M” on the front
believed to be for the “Mavericks” basketball team. The robber walked up to J.T.,
the victim teller, and presented a note that read: “This is a robbery do not make this
hard I am armed I only want lose bills 100$, 50$, 20$ no Die Packs no tracking you
have 3mins do not alert the authorities until I leave.”

2. J.T. realized what was happening and stepped back from the window. The robber
raised up his jacket, exposing the butt end of a pistol stuck in his pants. J.T. was in
fear for herself and others and complied with the robber’s demands. J.T. took $1,960
from her drawer and asked the robber if he wanted an envelope. The robber motioned
with his hand to just hand over the money. After getting the money, the robber
walked out, leaving the note behind. The robber was last seen on foot leaving the
bank. The robber was described as a black male, approximately 5°3” — 56”,
weighing approximately 180-200 pounds.

3. Fort Worth Police arrived and noted that the note was written on a checking/Savings
slip from BBVA Compass Bank. Officers noted that there was a BBVA Compass
Bank across the street at 1689 Eastchase Parkway. Officers went over and asked if
the robber may have been in their bank. A.C., the bank manager at the BBVA
Compass, stated that the robber was indeed in the bank about thirty minutes prior
and he was with another black male, however they did not rob the bank nor did they
have a transaction. The robber was wearing the same clothing, to include the black
zippered up hooded jacket and gray ball cap with an “M” on the front. A.C. provided
surveillance photographs of both subjects.

4. The Fort Worth Police Department collected the bank robbery note and later
processed the note for latent prints. On Tuesday 01/14/2019, Fort Worth Latent Print
Examiner, Heather Wigington, developed latent prints from the note. The prints were
entered into the Texas Department of Public Safety (DPS), Automated Fingerprint
Identification System (AFIS). AFIS identified the following individuals:

e Curtis Brown, B/M 04/07/1994
e Kyston Shamar Young B/M 01/21/2001

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5. Curtis Brown was determined to have a criminal history for aggravated robbery.
Booking photographs from his prior arrests were obtained and determined to closely
match the surveillance photographs of the first subject that entered and robbed the
Wells Fargo, as well as one of the two that cased the BBVA Compass Bank, on
January 6, 2020.

6. Kyston S. Young was determined to have a criminal history of Arson. His booking
photograph from that prior arrest was obtained, as were photographs from social
media. These photographs were determined to closely match the second subject who
cased the BBVA Compass Bank on January 6, 2020, just prior to the bank robbery.

As such, based upon the aforementioned facts, I believe there is probable cause to
believe that Curtis Brown and Kyston S. Young committed the offense of Bank Robbery
on January 6, 2020, in violation of 18 U.S.C. § 2113(a) and 18 U.S.C. § 2.

Gl [Mel aa .
Date Detective Weldon S. Thompson

Federal Bureau of Investigation

WAS
Sworn to before me and subscribed in my presence on this le day of
January, 2020, at_/°28 —a.m./f@M. in Fo xas.

  
 

   

JEFFREY L.AA0RETON
UNITED SVATES MAGISTRATE JUDGE

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